Case 2:12-bk-15811-RK         Doc 2977 Filed 07/09/18 Entered 07/09/18 14:35:02            Desc
                                Main Document    Page 1 of 2


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6    Counsel for Ronald Greenspan, as Trustee of the
     Liquidating Trusts of PCHLI, PCFI and PCFC
7

8                              UNITED STATES BANKRUPTCY COURT

9                               CENTRAL DISTRICT OF CALIFORNIA

10                                     LOS ANGELES DIVISION

11   In re:                                            Case No. 2:12-bk-15811-RK

12   PEOPLE'S CHOICE HOME LOAN INC.,                   (Jointly Administered with 2:12-bk-16200-RK and
     et al. 1                                          2:12-bk-16201-RK)
13
                   Debtors.                            (Transferred from 8:07-bk-10765-RK and
14                                                     Jointly Administered with Case Nos.
                                                       8:07-bk-10767-RK and 8:07-bk-10772-RK)
15
                                                       Chapter 11
16

17                                                     NOTICE OF ENTERED ORDER
                                                       EXTENDING TERM OF LIQUIDATING
18                                                     TRUSTS THROUGH AND INCLUDING
                                                       AUGUST 30, 2019
19

20                                                     [No Hearing Required]

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      The Debtors in these proceedings were: People’s Choice Home Loan, Inc., People’s Choice
28   Funding, Inc. and People’s Choice Financial Corporation.
Case 2:12-bk-15811-RK        Doc 2977 Filed 07/09/18 Entered 07/09/18 14:35:02            Desc
                               Main Document    Page 2 of 2


1    TO THE INTERESTED PARTIES:

2          PLEASE TAKE NOTICE that on July 6, 2018, the Court entered the following Order:

3                 ORDER EXTENDING TERM OF LIQUIDATING TRUSTS THROUGH

4                 AND INCLUDING AUGUST 30, 2019

5          A copy of the entered Order is attached hereto as Exhibit “A.”

6

7    Dated: August 9, 2018                      Respectfully submitted,
8                                               WINSTON & STRAWN LLP
9

10                                              By: /s/ Rolf S. Woolner
                                                        Rolf S. Woolner
11                                                      Counsel for Ronald Greenspan, as Trustee of
                                                        the Liquidating Trusts of PCHLI, PCFI and
12                                                      PCFC
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